Case 3:17-cv-00096-MJR-RJD Document 43 Filed 07/07/17 Page 1 of 2 Page ID #126




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
                                   East St. Louis Division

 CARMEN LEE HURSEY,                    )
           Plaintiff,                  )
                                       )
      v.                               ) Cause No. 3:17-cv-00096-MJR-RJD
                                       )
 EXPERIAN INFORMATION SOLUTIONS, INC., )
           Defendant.                  )


                                   NOTICE OF SETTLEMENT

        Plaintiff, Carmen Lee Hursey, by counsel, hereby notifies the Court that the Plaintiff and the

 Defendant, Experian Information Solutions, Inc., have reached a settlement in this matter. Plaintiff

 and Defendant are attempting to finalize the language of a written Settlement Agreement, and

 anticipate filing the appropriate dismissal documents with the Court within sixty (60) days.

                                               Respectfully submitted,

                                               /s/ Travis W. Cohron
                                               Travis W. Cohron, No. 29562-30
                                               BARKER HANCOCK & COHRON
                                               198 South Ninth Street
                                               Noblesville, IN 46060
                                               Counsel for Plaintiff
Case 3:17-cv-00096-MJR-RJD Document 43 Filed 07/07/17 Page 2 of 2 Page ID #127




                                  CERTIFICATE OF SERVICE


         I hereby certify that on this 7th day of July 2017 a copy of the foregoing was filed
 electronically. Notice of this filing will be sent to the following counsel of record by operation of
 the Court’s electronic filing system. Parties may access this filing through the Court’s system.

  James D. Maschhoff
  Herzog Crebs LLP
  jdm@herzogcrebs.com

  Jason Zhou
  Jones Day
  jzhou@jonesday.com
  Attorneys for Defendant Experian Information Solutions, Inc.



                                               /s/ Travis W. Cohron
                                               Travis W. Cohron, No. 29562-20
 BARKER HANCOCK & COHRON
 198 South Ninth Street
 Noblesville, IN 46060
 Telephone: (317) 219-4746
 tcohron@bhclegal.com
